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                     EXHIBIT B
           (FILED UNDER SEAL)
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                              UNITED STATEj DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No.1:I7-CV-6OMy6-UNGARO/O'SULLIVAN
     ALEKSEJ G UBAREV,XBT HO LDING
     S.A.,and W EBZILLA,INC.,

            Plaintiffs,

     V.

     BUZZFEED,INC.and BEN SM ITH,

            Defendants.
                                     /

                                         SEALED O RDERI
           THIS MATTER cam e before the Courton Non-party David J.Kramer's Sealed

     MotionforProtective Order(DE# 130,1/29/18).
                                         BACKG RO UND
           On Decem ber13,2017,M r.Kramerwas deposed in the instantaction.Pursuant

     to the Amended Confidentiality Stipulation and Protective Order(DE# 97,12/8/17)
     (hereinafter''Protective Order''),Mr.Kramer'sdeposition was marked t'
                                                                         Attorneys'Eyes
     O nIy.''M r.Kram er's deposition was Iaterre-designated 'Confidential.''See Non-party

     David J.Kramer'sSealed Motion forProtective Order(DE# 130 at2,1/29/18)(stating
     that'the parties have agreed w ith the Coud's approvalto treatthe deposition as

     ConfidentialratherthanAttorneys'Eyes OnIy.'').

           1The undersigned has perm itted the parties to file undersealIegalm em oranda
     in connectionwith the instantmotion forpfotective order.See Order(DE# 128,
     1/26/18).
             ,Order(DE# 136,2/20/18). LocalRule 5.4(a)statesthatl   dlulnless otherwise
     provided by Iaw ,Coud rule,orCoud order,proceedings in the United States District
     Courtare publicand Courtfilings are mattersofpublicrecord.''S.D.Fla.L.R.5.4(a).
     Forthe reasons discussed in this Order,the undersigned finds good cause forthis
     Orderand the filings related to this Orderto rem ain undersealatthis tim e.
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            On January 17,2018,M r.Kram erfiled Non-party David J.Kramer's Motion for

     Protective Order(DE # 111,1/17/18)whichwasstrickenforfailure to com ply withthe
     Coud's informaldiscovery procedure.See Order(DE# 112,1/18/18).
            O n January 26,2018,the undersigned held an inform aldiscovery conference on

     M r.Kram er's requestfora protective order.Following the inform aldiscovery

     conference,the undersigned issued an O rderallow ing M r.Kram erto file a w ritten

     motion and setting a briefing schedule.See Order(DE# 128,1/26/18).Due to concerns
     raised by Mr.Kram eratthe inform aldiscovery hearing,the undersigned perm itted the

     padies to subm ittheirfilings underseal.Id.

            On January 29,2018,M r.Kram erfiled the instantm otion.See Non-party David

     J.Kramer's Sealed MotionforProtective Order(DE# 130,1/29/18)(hereinafter
     S'Motion'').The plaintiffsfiled theirresponse in opposition on February2,2018.See
     Plaintiffs'Oppositionto David Kramer's Motion forProtective Order(DE# 131,2/2/18).
     M r.Kram erfiled his reply on February 6,2018.See Non-party David J.Kram er's Reply

     tothe Plaintiffs'Opposi
                           tionto HisMotionforProtective Order(DE# 132,2/6/18)
     (hereinafter1tRepIy'').
            O n February 20,2018,the undersigned granted the defendants Ieave to respond

     to the instantm otion and perm itted the plaintiffs and M r.Kram erto file replies to the

     defendants'response.See Order(DE# 136,2/20/18).On February21,2018,the
     defendants filed theirresponse.See Defendants'Response to Non-party David

     Kramer'sMotionfora Protective Order(DE# 139,2/21/18)(hereinafteri'Defendants'
     Response'').The plaintiffsfiled theirreplyto the defendants'response on February 22,
     2018.See Plaintiffs'Reply to Defendants'Response To Non-party David Kram er's
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     Motionfora Protective Order(DE# 142,2/22/18)(hereinafter'splaintiff's RepIy'').Mr.
     Kram erdid notfile a reply.

            This matterisripe foradjudication.
                                           ANALYSIS

     1.     Good Cause

            Rule 26(c)(1)ofthe FederalRules ofCivilProcedure providesthat:ù1(a)pady or
     any person from whom discovery is soughtm ay m ove fora protective orderin the coud

     where the action is pending'
                                'and t'ltlhe courtmay,forgood cause,issue an orderto
     protect(that)partyorpersonfrom annoyanc
                                          !
                                            e,embarrassment,oppression,orundue
     burden orexpense ....''Fed.R.Civ.P.26(c)(1).The burdenfalls on Mr.Kramerto
     establish good cause.See Chicago Tribune Co.v.Bridgestone/Firestone,lnc.,263

     F.3d 1304,1313 (11th Cir.2001)(stating that'ltlhe prerequisite (fora protective order)
     is a showing of''good cause''made by the padyseeking protection.''l'
                                                                        ,Trinos v.Quality
     Staffing Servs.Corp.,250 F.R.D.696,698 (S.D.Fla.2008)(ùdthe partyseeking the
     protective orderm ustshow good cause by dem onstrating a padicularneed for

     protection.'').
            M r.Kram erseeks a protective orderm aintaining the ''Confidential''designation of

     his deposition testim ony.M r.Kram erargues thatthe public dissem ination ofhis

     deposi
          tiontestimony''wouldjeopardize his and hisfamily'spersonalsafety,aswellas
     the integrity ofongoing (Congressional)investigations ....'Motion at1,The plaintiffs
     seek to rem ove the t'Confidential''designation in orderto use M r.Kram er's deposition




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     testimonytocompelthe deposition ofFusi
                                          on GPS ina proceeding in W ashington,D.C.Z
                                          ;


     and the deposition ofChristopherSteele ih a proceeding in London,England.

     Response at12.lfsuccessful,the plaintiffs also wantto use M r.Kram er's deposition

     during the depositions ofFusion GPS and M r.Steele.Id.The undersigned willaddress

     the concerns ofM r.Kramerand the plainti
                                            ffs below.

           A.     Safety

           W ith respectto safety concerns,M r.Kram erargues thatifhis deposition

     testim ony was publicly disclosed d'persons orentities nam ed in the Dossier...orthose

     associated with them m ay seekto exactrevenge on M r.Kram er.''Motion at13.To

     underscore his safety concerns,M r.Kram erIists fourindividuals who 'ddied

     m ysteriously''overa ten-yearperiod,from 2006 through 2016,''including a person

     suspected ofbeing a source forthe Dossier....'Id.at13-14.M r.Kram erstates that

     afterthe Dossierwas published by BuzzFeed,M r.Kramertold 'dM r.Bensingerthathe

     wasgoingto 'getpeople killed'and asked (Mr.Bensinger)to both remove the Dossier
     from BuzzFeed'swebsite and to notdisclose M r.Kram er's nam e in connection with the

     Dossier.'Id.at15.Additionally,afterthe Dossierwas published,$'M r.Steele,the

     purpoded authorofthe Dossier,wentinto hiding ....''Id.M r.Kram eralso notes thathe

     was the targetoftwo hacking attem pts in the fallof2016 and in the sum m erof2017.

     Id.at 14.



            2lio n August31, 2017,Fusion G PS ...filed a m otion in the United States
     DistrictCoud forthe DistrictofColum bia seeking to quash a third-pady subpoena
     issued in connection with a defam ation aclion currently pending in the United States
     DistrictCourtforthe Southern DistrictofFlorida.In re Third Pady Subpoena to Fusion
     GPS,No.17-CV-60426-UU,2018 W L 940553,at*1 (D.D.C.Feb.16,2018).
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            The plaintiffs m aintain thatM r.Kram er's safety concerns are unfounded.The

     plaintiffs state that:

            ithas already been w idely repoded '   thatM r.Kram ertestified to Congress
            thathe knew the identities ofChristopherSteele's Russian sources and,
            in any event,Plaintiffs have stated thatthey are w illing to keep
            confidentialthe podions ofthe transcriptreferring to M r.Kramer's
            knowledge ofthe identities ofthese sources as wellas those podions of
            testim ony referencing the sim ilarities between M r.Kram er's deposition
            testim ony and questions answered before Congress.

     Response at2.The plaintiffs also ci
                                       te to severalnews articles from Decem ber27-28,

     2017 repoding thatM r.Kram erknew the nam es ofthe Russian sources forthe Dossier.

     Id.at5-6.

            The plaintiffsfurthernote thatM r.Kramerhas not''behaved in a m anner

     consistentwith som eone who believed thata connection w ith the Dossierwould puthim

     atrisk:''Mr.Kram erbriefed no fewerthan a dozen reporters ateightdifferentnew s

     outlets abouthis having received the Dossierfrom M r.Steele and his providing the

     sam e to SenatorMccain.''Response at2.The plaintiffs also note thatM r.Kram erhas

     criticized Vladim irPutin's regime in num erous adicles,speeches and a recentbook.Id.

     at2,6-7.Moreover,the plaintiffs state that'.M r.Kram er's generalinvolvem entwith the

     Dossier- thathe flew to London,m etwith M r.Steele,and provided the Dossierto

     SenatorMccain iswell-documentled)in newspapers,magazines,and books.''Id.at8.
     Lastly,the plainti
                      ffs note thatM r.Kram erprovided briefings orcopies ofthe Dossierto

     repodersfrom eightnewsorganizationsand appeared ''(i)n an on-camera interview with
    A BC News''where he discussed the dossier.Id.at10.The plaintiffs conclude that

     d'lhlad Mr.Kramertruly believed thathispersonalsafety could have been compromised
     by any connection to the Dossier,he would have sim ply declined to speak with the

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     pressaboutthe Dossier- whetherthose conversationswere confidentialornot.'1J=.
            In his reply,M r.Kramerstates thathis argum entthatd'the Coud's de-designation
     ofthe transcriptwould puthim in dangerbecause itwould revealthathe knows the

     namesofMr.Steele's sources''is a secondaryconcern and that1$(Mr.Kramer's)primary
     concern com es with being identified as BuzzFeed's source forthe Dossier.''Reply at6.

     Specifically,M r.Kram eris concerned aboutreprisals from the Russian governm ent

     and/orRussian governm entsym pathizers ifthey Iearn thatM r.Kram er''
                                                                         w as the

     cause-in-factofthe publication or'the Doqsier.J#.
                                                     .at1.Mr.Kramernotes that
     BuzzFeed's source has notbeen m ade public and press speculation abouta

     connection between M r.Kram erand the Dossieris m aterially differentfrom d'deposition

     testim ony,w hich definitively confirm s this connection.''Id.at2,5.M r.Kram erdoes not

     dispute thathe has been a vocalcritic ofVladim irPutin and states thatratherthan

     underm ine his safety argument,this factsuppods M r.Kramer's concerns:''when you

     com bine M r.Kram er's pastcriticisms ofthe Putin regim e w ith the role he played in the

     release ofthe Dossier,one can easil
                                       y appreciate his concern aboutbeing a targetfor

     retribution.''Id.at5.

            M r.Krameralso states thathis w illingness to m eetwith the press in confidence

     doesnotundermine hissafetyconcerns:'tblased onhispastexperiencesand
     relationships with m em bers ofthe press,M r.Kram erhad faith thatthe press would

     keep theirm eetings confidential.'Id.at6.M r.Kram ernotes that'lthe various repoders

     with whom M r.Kram erm etaboutthe Dossierhave notdisclosed his identity or

     conveyed the substance oftheirm eetings with him .''Id.

           The term ''lglood cause 'generallysigni
                                                 fiesa sound basis orIegitimate needto
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     take judicialaction.''Tillmanv.C.R.Bard,.Inc.,297 F.R.D.660,663 (M.D.Fla.2014)
     (quoting In re AlexanderGrant& Co.Litig@tion,820 F.2d 352,356 (11th Cir.1987)).Mr.
     Kram erhas shown a padicularized need f:rprotection:the safety ofM r.Kram erand his
                                                :

     fam ily.M r.Steele,the purpoded authorofthe Dossier,has gone into hiding and a news

     reporthas speculated thatatIeastone person suspected ofbeing a source for

     information in the Dossierhas died undersuspicious circum stances.M r.Kram erhas

     dem onstrated a cri
                       ticaldistinction between being a vocalopponentofthe Russian

     governmentand being the cause-in-factofthe publication ofthe Dossier.Notably,M r.

     Kram er's m eetings with m em bers ofthe press were based on assurances of

     confidentiality.M r.Kram er's criticism s ofthe Russian governm entare publicall
                                                                                    y known,

     M r.Kram er's role in providing the defendants w i
                                                      th access to the Dossieris not.In sum ,

     M r.Kram erhas shown good cause in the articulated safety concerns forhimsel
                                                                                fand his

     fam ily ifM r.Kramer's role in providing the defendants with access to the Dossieris

     m ade public.

            B.    CongressionalInvestigations

            M r.Kram erhas also raised concern forthe integrity ofongoing Congressional

     investigations as a basis form aintaining his deposition testim ony confidential.M r.

     Kramernotesthat''(b)oththe House and Senate Committeestreatled)the testimony
     provided to them as confidential''and that''when asked during his deposition aboutthe

     nature ofthe questions proposed by Congress,M r.Kram ertestified thatthe questions

     were 'glustvery similarto whatIhave been asked here this morning.How Icame into
     possession ofThe Dossier,and m y contactwith M r.Steele orM r.Sim pson,and those

     things.'''Motion at16 (quoting Dep.Tr.at123:22-124:1).Thus,Mr.Kramerarguesthat
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     ''ifthe Courtallows the Plaintiffs to share the deposition publicly and/oroutside the

     contextofthiscase,itcouldthreatenConjressionalinvestigations,asitwillrevealthe
     CongressionalCom m ittees'knowledge regarding the inform ation provided by M r.
     Kramerto the Com m ittees.''Id.at16-17.

           The plaintiffs note thatM r.Kramerhas notfiled any purported w ritten agreement

     with Congress'
                  ,M r.Kram er's depositions contains few details abouthis Congressional

     testim ony and the plainti
                              ffs have agreed to nott'm ake public thatpodion ofthe

     testimonyinwhichMr.KramerdiscussespiisCongressionaltestimony.''Responseat
     11.M r.Kram erresponds thathis deposition testim ony is ''very sim ilar''to his testim ony

     before Congress.Reply at7.

           Given the plaintiffs'assurances thatthey willnotm ake public the podions ofM r.

     Kram er's deposition which discuss M r.Kram er's Congressionaltestim ony,the

     undersigned concludes thatMr.Kram er's concern forthe integrity ofongoing

     Congressionalinvestigations is notwellfounded.

     2     Balancing Test

           As noted above,good cause exists to m aintain the ldconfidential''designation of

     Mr.Kramer'sdeposition based on Mr.Kramer'sarticulated safetyconcerns.(l)n some
     circumstances,'sllederalcoudshave superimposed a balancing ofinterestsapproach
     forRule 26's good cause requirem ent.This standard requires the districtcoud to

     balance the pady's interestin obtaining access againstthe otherpady's interestin

     keeping the inform ation confidential.'Tillm an v.C.R.Bard.Inc.,297 F.R.D.at664

     (quoting Chicago Tribune Co.,263 F.3d 1304,1313 (11th Cir.2001)).
           The undersigned m ustnow balance M r.Kram er's safety concerns with the

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     plaintiffs'need forthe disclosure ofM r.Kr4m er's deposi
                                                            tion.As noted above,the
     plaintiffs state thatthe de-designation ofQr.Kramer's deposition is necessaryin
     com pelling the deposition ofChristopherSteele in the London proceeding and the
     deposition ofFusion G PS in the W ashington,D .C .proceeding. Response at12.The

     plaintiffs also wantto use M r.Kram er's deposition during the depositions ofFusion

     GPS and M r.Steele.$=.
                          .




            Forthe reasons stated below ,the undersigned finds thatM r.Kram er's safety

     concerns outweigh the plaintiffs'stated need forthe de-designation ofM r.Kramer's

     deposition.

           A.      London Proceeding

            In suppod oftheirargum entthatM r.Kram er's deposition testim ony is needed to

     com pelthe deposition ofChristopherSteele,the plaintiffs have filed the declaration of

     Steven Frederick Loble,the solicitorw ho is representing the plaintiffs in the London

     proceeding involving Mr.Steele.See DeclarationofSteven Loble (DE# 131-17).Mr.
     Loble states thatM r.Steele is seeking to avoid being deposed and ''has raised as one

     ofhis argum ents thathe keptthe dossierstrictly confidential,providing i
                                                                            tonly to the FBI

     and SenatorMccain.''Id.at% 3.According to M r.Loble,Mr.Kramer's deposition
     testim ony aboutbeing directed by M r.Steele to briefnews organizations and provide

     some news organizations w ith copies ofth: Dossierwould be usefulin countering M r.

     Steele'sargument.Id.at$ 4.Mr.Loble also states thatifMr.Kramer's deposition is
     used inthe London proceeding,itwillIikelybe made public since d
                                                                   sltlhe generalrule is
    thatevidence used in the English Coud can be obtained by m em bers ofthe press or

     public by application to the Coud''with the exception ofl'cases involving National

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     Security,intellectualpropedy,ortrade seqrets evidence ....'Id.at11115-7.
            M r.Kram erdisputes the plaintiffs'nped forM r.Kram er's deposition testim ony to

     counterM r.Steele's confidentiality argument.Reply at2.M r.Kram ernotes thatM r.

     Loble'sdeclaration 'lsays nothing abouteither(1)the standard the English Courtwill
     apply when deciding w hetherto dsetaside'the coud orderrequiring M r.Steele to sitfor

     adeposi
           tion or(2)whetheran English Courtconsiders materialIike Mr.Kramer's
     'contradiction'testim ony relevantto such an issue.''Reply at9.M r.Krameralso notes
     that'the Nunes M em orandum3contains a treasure trove ofm aterialthatcontradicts M r.

     Steele'sclaim ofstrictconfidentiality.''ld.(footnote added).Speci
                                                                     fically,''ltlhe (Nunes)
     Mem orandum notes thatM r.Steele 'has adm itted in British courtfilings thathe m etwith

     Yahoo News- and severalotheroutlets- in Septem ber2016 atthe direction ofFusion

     G PS'''and that''M r.Steele wentso faras lo disclose his status as an FBIsource to a

     m agazine,M otherJones,which resulted irlthe FBIsuspending and then term inating
                                               :

     him as a source.''Id.at9-10 (citing Nunes:Memorandum at*2).Mr.Kramerconcludes
     that''ltlhe Nunes Memorandum'sdocumentation ofMr.Steele's 'numerous encounters
     with the m edia'... is farm ore powerfulevidence than Mr.Kram er's deposition

     testimony aboutMr.Steele's indirectengagementwiththe media.'Id.at10 (citing
     NunesMemorandum at*3).
           In Iightofthe inform ation available in the Nunes M em orandum ,the undersigned

     finds thatthe plaintiffs'adiculated need forM r.Kram er's deposition foruse in the



           3The Nunes Mem orandum refers to a congressionalm em orandum thatwas
     declassified by the Presidenton February 2,2018 and relates in partto M r.Steele. It
    wasfiled by Mr.KrameratAttachmentH (DE# 132-1 at4-7).
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     London proceeding is notcompelling and qertainly does notoutweigh Mr.Kramer's
     safety concerns.

            B.     W ashington,D.C.Proceeding

            The plaintiffs sim ilarly argue thatM r.Kram er's deposition testim ony would be

     helpfulin com pelling the deposition ofFusion G PS.Response at13.The plaintiffs state

     thatFusion G PS has argued in the W ashington,D.C.proceeding thatitshould notbe

     deposed ldon confidentiality grounds.'Id.Atthe same tim e,the plaintiffs note that

     Fusion G PS played a ''role in encouraging M r.Kramerto speakw ith the m edia ....''Id.

            The plaintiffs have notsufficientl
                                             y explained how M r.Kram er's deposition would

     be helpfulin procuring the deposition ofFusion GPS4orwhy the W ashington, D.C.

     courtwould notperm itthe deposition ofM r.Kram erto be filed underseal,ifthe

     plaintiffs need to rely on M r.Kram er's testim ony to com pelthe deposi
                                                                            tion ofFusion

     GPS.The W ashington,D.C.courtis able to provide safeguards to ensure thatM r.

     Kram er's deposition testim ony rem ains confidentialw hile allowing the plaintiffs to cite to

    the deposition.Notably,in the W ashington,D.C .proceeding the plaintiffs 'have

     (already)agreed thatany information Fusion (GPSJproduceswillbe designated
     'Attorneys'Eyes O nIy,'meaning that$itwillnotbe shared w ith anyone otherthan the

    Iawyers working on the underlying case in Florida'and thatitwillnotbe shared with any

    ofthe padies orwith Iawyers working on related m atters.'In re Third Padv Subnoena to

     Fusion GPS,No.17-CV-60426-UU,2018 W L 940553,at*1 (D.D.C.Feb.16,2018)

           4 Notably, the plaintiffs have already filed theiropposition to the m otion to quash
    in the W ashington,D.C.proceeding withoutthe assistance ofM r.Kram er's deposition
    testim ony.See In re Third Padv Subnoena to Fusion GPS,2018 W L 940553,at*1
    (citing opposition to motionto quash).
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     (citing Opp.to Mot.Quash Ex.5).
           C.     Use ofthe KramerDeposibon During OtherDepositions
           lfthe plaintiffs succeed in com pelling the deposi
                                                            tion ofFusion G PS and/orthe

     deposition ofM r.Steele,they state thatthey would like to use M r.Kram er's deposition

     testim ony during those deposi
                                  tions.Response at13.The plaintiffs m aintain thatunder

     the termsofthe Protective Order(DE# 97,12/8/17),theymayonly use Mr.Kramer's
     deposition during otherdepositions ifthose deponents agree to be bound by the

     Protective O rder.Id.The plaintiffs fudherstate thatM r.Steele and Fusion GPS would

     likely notagree to be bound by those term s.ld.According to the plaintiffs,the Court

     should therefore rem ove the Confidentiality designation from M r.Kramer's deposition.

           M r.Kram erresponds that'sdespite the Plaintiffs'claim s to the contrary,the

     Plaintiffsdo notneed (a)sign-offfrom third-partywitnesses in orderto use Mr.Kramer's
     deposition when deposing such w itnesses.''Reply at2-3.The defendants agree w ith

     Mr.Kram er,stating that''while the Protective O rderrequires thatwitnesses who are

     deposed be informed ofthe (Protective)Order,itdoes notrequire thattheysign itasa
     condition forusing M r.Kram er's testim ony as a basis forquestions.''Defendants'

     Response at5.

           Paragraph 6 ofthe protective orderstates in pad:

           6.ConfidentialInform ation shallnotbe delivered,disclosed or
           dissem inated exceptto the following persons:
                                               ***



                  (d)witnessesand deponents in thisaction who are shown
                  the ConfidentialInformation while testifyingl.l
     Protective Order(DE# 97 at%6,12/8/17).Paragraph6 does notrequirethatthe
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     deponentagree to be bound by the Protective O rderbefore being shown docum ents

     thathave been designated ''Confidential.'Bycontrast,paragraph 6(h)perm i
                                                                            ts
     docum ents designated ''Confidential''to be shown to ''any other person w hom the

     parties agree,in advance and in writing...provided such person has executed the

     Notification ofProtective Orderattached hereto as ExhibitA.''ld.at% 6(h)
     (emphasisadded).Thus,the plaintiffs'argumentthatMr.Steele and Fusion GPS
     would need to agreeto be bound bythe Protective Order(DE# 97 at%6,12/8/17)
     before the plaintiffs m ay use M r.Kramer's deposi
                                                      tion during the depositions ofM r.

     Steele and Fusion G PS is notsuppoded by the Ianguage ofthe Protective O rder.

     3.     Public Access to the Courts

           The plaintiffs fudherstate thatM r.Kamer's deposi
                                                           tion testim ony should be de-

     designated because itis subjectto the common-law rightofaccesstojudicial
     proceedings.Response at14.There islllnlo common Iaw rightofaccessto discovery
     m aterial.''Diaz-G ranados v.W rightM ed.Tech.,Inc,,No.614CV 1953O RL28TBS,2016

     W L 1090060,at*2 (M.D.Fla.Mar.21,2016)(quoting In re AlexanderGrant& Co.
     Litigation,820 F.2d 352,355 (11th Cir.1987)).''Discovery,whethercivilorcriminal,is
     essentially a pri
                     vate process because the Iitigants and the couds assum e thatthe sole

     purpose ofdiscovery is to assisttrialpreparation.Thatis why parties regularly agree,

     and courts often order,thatdiscovery inform ation w illrem ain private.''United States v.

    Anderson,799 F.2d 1438,1441(11th Cir.1986).''lolnce the information becomesa
    judicialrecord orpublicdocument,the public hasa common-law rightto inspectand
     copythe information.''Diaz-Granados,2016 W L 1090060,at*2 (citing In reAlexander


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     Grant& Co.Litigation,820 F.2d at355).
            The plaintiffs note thatthey have fil:d M r.Kram er's deposition transcriptin

     suppod oftheirmotionforjudgmentonthe pleadingson some ofthe defendants'
     affirmative defenses.See Notice ofSealed Filing (DE# 124,1/23/18).The plaintiffs also
     state thatthey intend on relying on M r.Kram er's deposition testim ony in m oving for

     summaryjudgment.Response at14.
           The defendants accuse the plaintiffs ofim properl
                                                           y including M r.Kram er's

     deposition as partoftheirmotion forjudgmentonthe pleadings in orderto compelthe
     deposition'sdisclosure.See Defendants'Response at4 (statingthat'
                                                                    ùthe onlyapparent
     purpose (Mr.Kramer's deposition)served was to provide a pretextforarguing in
     opposition to the instantm otion thatM r.Kram er's testim ony should becom e public

     because Plaintiffs had (gratuitously)filed thetranscript.n).
            In orderto rule on the instantm otion,the undersigned does notneed to m ake a

     determ ination on the plaintiffs'motives in ùiting to M r.Kramer's deposition in the motion

     forjudgmentonthe pleadings.The undersigned does conclude,however,thatMr.
     Kram er's deposition testim ony is notrelevantto any ofthe argum ents raised in that

     m otion.

           The plaintiffsmovedforajudgmentonthe pleadings ontwo affirmative
     defenses:the FairRepoding Privilege and the NeutralRepoding Privilege.See

     Plaintiffs'M otion forPadialJudgm enton the Pleadings with Respectto Defendants'

     Affirm ative Defenses of''Fairand True Repoding Privilege''and 'dNeutralRepoding

     Privilege''(DE# 115,1/18/18)('
                                  tplaintiffs'Motion forPadialJudgmenton the
     Pleadings'').The undersigned'sreview ofthe plaintiffs'motion and replyfound one
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     citation to M r.Kram er's testim ony.See Pleintiffs'Motion forPadialJudgm enton the

     Pleadings at3 (stating thatl'liln Iate Decemb
                                                i
                                                  erof2016,Buzzfeed reporterKen
     Bensingerobtained a copy ofthe memos.*). The plainti
                                                        ffs'motion wentonto state that
     this factwas noteven disputed:uitis undisputed thatBuzzfeed did notreceive the

     Dossierfrom a governm entofficialorany othergovernm entsource.''Id.at8.In i
                                                                               ts

     reply,the plaintiffs again stated that''...Buzzfeed did notreceive the Dossierfrom

     Steele,nordid itreceive the Dossierfrom any 'governm entofficial.'''Plaintiffs'Reply in

     Suppod ofPadialMotion forJudgm enton The Pleadings w ith Respectto Defendants'

     Affirm ative Defenses ofd'Fairand True Repoding Privilege''and ''NeutralRepoding

     Privilege''(DE# 137 at7 n.5,2/20/18).As evidenced bythe plaintiffs'Ione citationsto
     M r.Kram er's deposition,the substance ofM r.Kram er's deposition testim ony is not

     relevantto the Coud's ruling on the sufficiency ofthe defendants'FairRepoding

     Privilege and the NeutralRepoding Privilege affirm ative defenses.

           Accordingly,the com m on Iaw rightofaccess has notyetattached to M r.

     Kramer's deposi
                   tion testim ony.

                                         CO NC LUSION
           Forthe reasons stated herein,itis



           5The plaintiffs claim they did notneed to cite to M r.Kram er's deposition
     transcriptin theirreply in suppod ofthe motionforjudgmenton the pleadings because
     's
      the facts thatneeded to be in frontofthe Courtwere already in frontofthe Court.''
     Plaintiff's Reply at2-3.This argumentis notwelltaken.The undersigned notes thatthe
     plaintiffs filed the entire 130-page deposition ofM r.Kram erin connection with the
     plaintiff'smotionforjudgmentonthe pleadings.Ifthe information in M r.Kramer's
     deposition was necessary to suppod the plaintiffs'argum ents,itwould be unreasonable
     forthe plainti
                  ffs to expectthe Courtto com b through aIIthose pages to find supportfor
     the plaintiffs'motion forjudgmentonthe pleadings.
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           ORDERED AND ADJUDG ED thatNon-party David J.Kram er's Sealed M otion

     forProtective Order(DE# 130,1/29/18)iskGRANTED.The deposition transcriptof
     David J.Kram ershallrem ain confidential.:

           DONEANDORDERED,i
                          nChambers,atMiami,FIri
                                               dathi
                                                   s VZ dayof
     February,2018.                                         '
                                                                .   6




                                            JOHN . 'SU IVA N
                                            UN ITED STAT S MAG ISTRATE JUDGE
     Copies provided to:
     United States DistrictJudge Ungaro
     AIIcounselofrecord




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